     Case 2:20-cv-07347-MAA Document 30 Filed 10/26/21 Page 1 of 2 Page ID #:714




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13
                       UNITED STATES DISTRICT COURT
14                    CENTRAL DISTRICT OF CALIFORNIA
15                              WESTERN DIVISION
16
17   NATASHA LYNN WILLIAMS,                  )   Case No.: 2:20-cv-07347-MAA
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                                             )
     Plaintiff,                              )   ORDER AWARDING EQUAL
19                                           )   ACCESS TO JUSTICE ACT
20          v.                               )   ATTORNEY FEES AND
                                             )   EXPENSES, PURSUANT TO 28
21
     KILOLO KIJAKAZI,                        )   U.S.C. § 2412(d), AND COSTS
22   Acting Commissioner of Social Security, )   PURSUANT TO 28 U.S.C. § 1920
                                             )
23
     Defendant.                              )
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25
           IT IS HEREBY ORDERED, based upon the parties’ Stipulation for the
26
     Award and Payment of Equal Access to Justice Act Fees and Expenses, IT IS
27
     ORDERED that fees and expenses in the amount of $6,500.00 as authorized by 28
28
     Case 2:20-cv-07347-MAA Document 30 Filed 10/26/21 Page 2 of 2 Page ID #:715




 1
     U.S.C. § 2412, be awarded subject to the terms of the Stipulation.
 2
 3   Date: 10/26/2021
 4
                                           HON. MARIA A. AUDERO
                                           UNITED STATES MAGISTRATE JUDGE
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